Case: 1:12-cr-00582-BYP Doc #: 203 Filed: 05/28/13 1 of 2. PageID #: 865



                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHO
                                       EASTERN DIVISION


 UNITED STATES OF AMERICA,                          )        Case No. 1:12CR582-10
                                                    )
                  Plaintiff,                        )        Judge Benita Y. Pearson
                                                    )
         vs.                                        )        REPORT AND RECOMMENDATION
                                                    )        OF MAGISTRATE JUDGE
 KEVIN FRIDRICH,                                    )
                                                    )
                  Defendant.                        )        Magistrate Judge Kathleen B. Burke
                                                    )


         Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

 Judge Kathleen B. Burke for purposes for receiving, on consent of the parties, the defendant’s offer of

 a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record

 of the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

 submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

 accepted and a finding of guilty entered, the following, along with the transcript or other record of the

 proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

 concerning the plea of guilty proffered by the defendant.

         1.       On May 28, 2013, the defendant, accompanied by counsel, proffered a plea of guilty

                  to the lesser included offense of Count 1 of the Indictment, conspiracy to distribute and

                  to possess with intent to distribute 100 grams or more of heroin but less than one (1)

                  kilogram of heroin.

         2.       Prior to such proffer, the defendant was examined as to his competency, advised of the

                  charge and consequences of conviction, informed that the Federal Sentencing

                  Guidelines are advisory and the Court must consider them but the Court may impose

                  any sentence authorized by law, notified of his rights, advised that he was waiving all
Case: 1:12-cr-00582-BYP Doc #: 203 Filed: 05/28/13 2 of 2. PageID #: 866




                                                     2

                  his rights except the right to counsel, and, with limited exceptions, his right to appeal,

                  and otherwise provided with the information prescribed in Fed. R. Crim. P. 11.

         3.       The parties and counsel informed the court about the plea agreement between the

                  parties, and the undersigned was advised that, aside from such agreement as described

                  or submitted to the court, no other commitments or promises have been made by any

                  party, and no other agreements, written or unwritten, have been made between the

                  parties.

         4.       The undersigned questioned the defendant under oath about the knowing, intelligent,

                  and voluntary nature of the plea of guilty, and finds that the defendant’s plea was

                  offered knowingly, intelligently, and voluntarily.

         5.       The parties provided the undersigned with sufficient information about the charged

                  offense(s) and the defendant’s conduct to establish a factual basis for the plea.

         In light of the foregoing and the record submitted herewith, the undersigned finds that the

 defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

 United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

 recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.

                                                          s/Kathleen B. Burke
                                                    Kathleen B. Burke
                                                    United States Magistrate Judge

 Date: May 28, 2013



         ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

 within fourteen (14) days of receipt of this notice. Fed. R. Crim. P. 59. Failure to file objections within

 the specified time constitutes a WAIVER of the right to appeal the Magistrate Judge’s recommendation.

 Id.
